Case: 2:19-cv-01049-SDM-KAJ Doc #: 4 Filed: 07/01/19 Page: 1 of 2 PAGEID #: 56

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

RE: Reassignment of Cases to the Docket of
District Judge Sarah D. Morrison

ORDER

The attached cases are hereby reassigned to the docket of the Honorable Sarah D.

Morrison.

IT IS SO ORDERED.

July 1, 2019

An

Honorable und A. Sargus, Jr.
Chief Judge United States District Court
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Case Number
2:18-cv-01255-ALM-EPD
2:18-cv-01341-ALM-KAJ
2:18-cv-01342-ALM-EPD
2:18-cv-01383-ALM-EPD
2:18-cv-01406-ALM-CMV
2:18-cv-01525-ALM-EPD
2:18-cv-01731-ALM-EPD
2:18-cv-01732-ALM-CMV
2:18-cv-01769-ALM-EPD
2:18-cv-01775-ALM-KAJ
2:19-cv-00076-ALM-EPD
2:19-cv-00137-ALM-KAJ
2:19-cv-00223-ALM-KAJ
2:19-cv-00275-ALM-CMV
2:19-cv-00497-ALM-EPD
2:19-cv-00515-ALM-EPD
2:19-cv-00624-ALM-KAJ
2:19-cv-00711-ALM-CMV
2:19-cv-00717-ALM-EPD
2:19-cv-00794-ALM-CMV
2:19-cv-00804-ALM-KAJ
2:19-cv-00808-ALM-CMV
2:19-cv-00976-ALM-EPD
2:19-cv-01032-ALM-CMV
2:19-cv-01049-ALM-KAJ
2:19-cv-01072-ALM-CMV
2;19-cv-01154-ALM-CMV
2:19-cv-01224-ALM-EPD
2:19-cv-01339-ALM-EPD
2:19-cv-01475-ALM-CMV
2:19-cv-01577-ALM-KAJ
2:19-cv-01743-ALM-KAJ
2:19-cv-01848-ALM-KAJ
2:19-cy-01915-ALM-CMV
2:19-cv-02026-ALM-CMV
2:19-cv-02062-ALM-CMV
2:19-cv-02225-ALM-EPD
2:19-cv-02366-ALM-CMV
2:19-cv-02378-ALM-EPD
2:19-cv-02429-ALM-CMV

Caption

Carringer v. Select Specialty Hospital - Columbus, Inc. et al
Miller vy. Charter Nex Films - Delaware, OH, Inc. et al
Jones v. Home Care Assistance of Central Ohio, LLC et al
BJ's Electric, Inc. v. The Cherokee 8A Group, Inc. et al
Walker v. Wal-Mart Stores Inc.

Dream Big Energy, LLC v. Eclipse Resources - Ohio, LLC
Barrett v. JP Morgan Chase, N.A. et al

Yu v. UNITED STATES POSTAL SERVICE

Johnson v. Commissioner of Social Security

Hastings v. Hartford Life and Accident Insurance Company
HGCI, Inc. et al vy. Advanced Nutrients Ltd. et al

Capital Wholesale Drug Company v. Inceptua, Inc.
Moscoso v. Warden Southeastern Correctional Institution
Sims v. USA

Allen v. CoreCivic, Inc. et al

Ransom v. Commissioner of SSA

DeCapua Enterprises, Inc. v. DLR Distributors, Inc.
Walburn et al v. Lend-A-Hand Services, LLC et al
Silknitter v. Haviland

Joe Hand Promotions Inc v. Wettee, et al

Antero Resources Corporation v. Tejas Tubular Products, Inc. et al
Adams et al v. Frontier Railroad Services, LLC

Ari Investments IT LLC v. MCF Capital, Inc.

Wagner v. Riethweil Chili LLC, et al

England v. City of Columbus et al

Creed v. Hartford Life and Accident Insurance Company
Reed v. Life Insurance Company of North America, dba CIGNA Group
Chapman v. Credence Resource Management, LLC

Morris v. Shaw, et al

Slyh, et al. v. Jones, et al.

Wilson v. Blue Ridge Contractors, LLC

Cardinal Services, Inc. v. Cardinal Staffing Solutions LLC
Nationwide Affordable Housing Fund 4, LLC et al v. Urban 8 Danville
Hunley v. Warden Marion Correctional Insitution

UATP Management, LLC v. Price

Headspeth et al v. TPUSA, Inc

Dufrene v. Dietz Management Company

Clark v. Electrolux Home Products, Inc. et al

Wilson, et al. v. Resitech Construction, LLC

Heifferon v. Ohio State University
